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                        IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION

TRUMAN BOWEN, JR.,

   Plaintiff,

-vs-                                              CASE NO.: 3:14-cv-108-J-39PDB

CACH, LLC, and LAW OFFICE OF
SUSAN ADDISON BLUSH, P.C.,

   Defendants.
                                     /

                NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       COMES NOW Plaintiff, TRUMAN BOWEN, JR., by and through the undersigned

counsel, and hereby files this Notice of Voluntary Dismissal Without Prejudice as to Defendant,

LAW OFFICE OF SUSAN ADDISON BLUSH, P.C. D/B/A Kentwood Law Group, for the

above captioned matter. After further investigation Plaintiff was unable to locate any collectable

assets of Defendant; therefore, respectfully requests this honorable Court to dismiss this case

without prejudice.

       I HEREBY CERTIFY a true and correct copy of the foregoing has been furnished by

U.S. Mail this 21st day of January, 2015 to counsel of record and any unrepresented party.

                                               /s/ Jared M. Lee
                                             Jared M. Lee, Esquire
                                             Morgan & Morgan, P.A.
                                             20 N. Orange Avenue
                                             Suite 1600
                                             Orlando, FL 32801
                                             Tele: (407) 420-1414
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                                             JMLPleadings@ForThePeople.com
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                                   CERTIFICATE OF SERVICE

        I, Jared M. Lee, hereby certify that on January 21, 2015, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system which sent notification of such

filing to all parties of record.


                                            s/ Jared M. Lee, Esq
                                           Jared M. Lee, Esquire
                                           Florida Bar #: 0052284
